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                                   14     Attorneys for Plaintiff,
                                          Ruth Beardsley
                                   15
                                   16                         UNITED STATES DISTRICT COURT
                                                             CENTRAL DISTRICT OF CALIFORNIA
                                   17
                                   18     RUTH BEARDSLEY,                        Case No.: SACV15-01339 JLS (JCGx)

                                   19                   Plaintiff,               NOTICE OF SETTLEMENT

                                   20                           v.               HON. JOSEPHINE L. STATON

                                   21     LAW OFFICE OF RORY W.
                                          CLARK, A PROFESSIONAL
                                   22
                                          LAW CORPORATION,
                                   23
                                                        Defendant.
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                                          NOTICE OF SETTLEMENT
                                        Case 8:15-cv-01339-JLS-JCG Document 10 Filed 01/10/16 Page 2 of 2 Page ID #:34



                                    1           NOTICE IS HEREBY GIVEN that the dispute between Plaintiff RUTH
                                    2     BEARDSLEY (“Plaintiff”) and Defendant LAW OFFICE OF RORY W. CLARK,
                                    3     A PROFESSIONAL CORPORATION (“Defendant”) has been resolved in its
                                    4     entirety. The Parties anticipate filing a Joint Motion for Dismissal of this Action
                                    5     with Prejudice within 60 days. Plaintiff requests that all pending dates and filing
                                    6     requirements be vacated and that the Court set a deadline on or after March 3, 2016
                                    7     for filing a Joint Dismissal.
                                    8
                                    9
                                          Dated: January 10, 2016                            Respectfully submitted,
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                                   11
KAZEROUNI LAW GROUP, APC




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                                   12
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                                   13
                                                                                        By: ____/s/ Matthew M. Loker___
                                   14
                                                                                                 MATTHEW M. LOKER, ESQ.
                                   15                                                              ATTORNEY FOR PLAINTIFF
                                   16
                                                                    CERTIFICATE OF SERVICE
                                   17
                                                A copy of the foregoing Notice of Settlement has been filed this 10th day of
                                   18
                                          January, 2016, through the Court’s electronic filing system as well as U.S. Mail to
                                   19
                                          the following:
                                   20
                                   21
                                                Matthew Kumar, Esq.
                                                LAW OFFICE OF RORY W. CLARK
                                   22           30699 Russell Ranch Road, Suite 215
                                   23
                                                Westlake Village, CA 91362

                                   24
                                                                                               ___/s/ Matthew M. Loker___
                                   25
                                                                                                         Matthew M. Loker
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                                          NOTICE OF SETTLEMENT                                                PAGE 1 OF 1
